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              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE



In re:                                 Chapter 11

BOY SCOUTS OF AMERICA AND              Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                       (Jointly Administered)
               Debtors.




              CENTURY’S OBJECTION TO DEBTORS’ MOTION
         FOR ENTRY OF AN ORDER APPROVING CONFIDENTIALITY
                  AND PROTECTIVE ORDER [DKT. 613]




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                                       Lines Insurance Company (“Century”)
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       Century objects to the Proposed Form of Protective Order (Dkt. 613) (“Debtors’

Proposed Order”) 1 and proposes instead that the proposed order attached in Appendices A

(redline) and B (clean copy) be applied to these Chapter 11 proceedings. The changes sought are

essential to protect Chubb’s privileged information and privileged information generated in the

defense and assessment of underlying abuse claims asserted against Debtors.

                                 PRELIMINARY STATEMENT

       Throughout the course of the proceedings concerning the motion by the Debtors to retain

Sidley Austin, the Debtors proposed counsel represented in their briefs and at the hearing (with

the Debtors’ concurrence) that they would abide by any reasonable limitations to assure the

maintenance of privilege. That is not what happened with the Protective Order.

       The Debtors aligned themselves with the Tort Claimants in refusing to accept any

revisions the proposed Protective Order that would prohibit Sidley or the Debtors from sharing

Chubb’s privileged information or privileged information concerning the underlying defense

with the Tort Claimants. Further, Sidley and the Boy Scouts aligned themselves with the Tort

Claimants in insisting on terms that purport to override orders entered by other courts that Sidley

was bound to support.

       Debtors’ proposed Protective Order lacks basic protections designed to prevent disclosure

of privileged information. Various provisions of Debtors’ proposed Order state that the Debtors

may share any document or information with the Tort Claimants just on their agreement to do

so. For example, section 7.2(o) of Debtors’ Proposed Order permits broad disclosure of all

Discovery Materials to any party on consent of the Producing Party. Most importantly, the



1
    Debtors extended the deadline for objections to the Proposed Protective Order to May 27, 2020 at
    11:00 AM. See May 27, 2020 Declaration of Janine Panchok-Berry (“Panchok-Berry Decl.”) Ex. 1
    (May 26, 2020, 3:05 PM email from K. Basaria).


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Protective Order does not include a clause precluding the Debtors / Sidley from sharing Chubb’s

privileged information or privileged information generated in the underlying defense.

       Chubb participated in the defense of the Boy Scouts in the tort system through Century

prior to the filing of this bankruptcy and, through another Chubb affiliate, ESIS, Inc., is presently

administering claims for BSA under contract pursuant to the Shared Services Order. The

tripartite privilege maintains as privileged information generated in the course of a common

defense and shared among insurers, the companies defending claims, and underlying defense

counsel in the course of that defense. This privilege may not be waived by any party without the

other’s consent.

       Any protective order should prohibit the disclosure of Chubb’s privileged information

and privileged information concerning the defense of the underlying abuse claims absent leave of

Court for the Debtors to do otherwise. This is particularily appropriate here given the

extraordinary fact that the Debtors’ counsel has represented or represents virtually all of the

Debtors insurers.

       Any protective order should also not include a provision -- such at Section 5.2 of the

proposed order -- that asks this Court to eviscerate the orders of other courts especially given that

those orders have not even been identified or disclosed to this Court or Century. 28 U.S.C.

§ 1334(c)(2) requires that this Court abstain from granting this relief.

       As Debtors’ Proposed Order does not include these protections, we request that the Court

enter the Protective Order attached as Appendix B. The Order attached as Appendix B contains

certain additional protections that should be incorporated into the Proposed Protective Order.




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                                          BACKGROUND

                                 BSA is in possession of privileged
                              information generated in the course of
                                       the defense of BSA.

        The Debtors possess the work product of underlying defense counsel, information

generated in connection with the defense, and documents databases that contain the statements,

opinions, and work product of defense counsel. The Debtors have not sought, and Chubb and

Century have not granted, their consent to share this information or the information that Sidley

learned in its representation of Chubb and Century with others. The protection of this privileged

information is vital to the defense of claims.

                            BSA’s lawyers are in possession of Chubb’s
                     privileged communications about BSA and information
                              Chubb shared with Sidley about BSA.

        As Century’s counsel, Sidley Austin was privy to highly confidential information about

Chubb’s insurance coverage for the Boy Scouts and agreements concerning it. 2 This includes

privileged information concerning the disputes between Century and the Boy Scouts over its

insurance coverage, Century’s legal analysis of the Boy Scouts’ claims, and Century’s legal

strategies and defenses in these matters. 3 While some issues were disputed at the May 4, 2020

Hearing on Sidley’ retention, the testimony from Chubb’s witnesses that they conveyed

privileged information to Sidley about BSA was unrefuted. 4


2
    See April 9, 2020 Declaration of Joshua R. Schwartz (“Schwartz Decl.”) ¶¶ 5, 26–27 [Dkt. 539].
3
    Id.
4
    E.g., Tr. of May 4, 2020 Hr’ng on Sidley Retention, at 134:24–135:7 [Dkt. 572] (Testimony of Ms.
    Christine Russell: “And we really have to -- we struggle, you know, with sharing our information
    that is privileged. And we certainly share it with our own counsel and then we have to decide how
    much of that we can share with the reinsurers. So, it’s a very delicate balance, but certainly it’s
    always shared with our counsel. I mean there is no doubt about that. They can’t help us evaluate the
    claim without understanding our privileged analysis.”); see also id. at 207:2–4 (Testimony of Mr.
    Joshua R. Schwartz: “I had a number of conversations with [Mr. Sneed] about a whole host of issues.
    So, he was privy to privileged information.”).


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                                 Chubb participated in BSA’s defense
                                         in the tort system.

        Debtors, Century, and underlying defense counsel coordinated on the defense of abuse

claims asserted against Debtors in the tort system pre-petition. Aligned in a common interest

these parties shared privileged legal analysis of the underlying tort claims. Debtors thus possess

communications that contain attorney work product, including the mental impressions and

opinions of underlying defense counsel relating to the underlying tort litigation and settlement

negotiations. Debtors also possess attorney-client communications that include Century and

other insurers where underlying defense counsel were included. These communications are

protected by the common interest privilege, which cannot be waived by any one party. 5 The

protection of this privileged information is vital to the defense.

        Debtors acknowledge that Century has been involved in defense and settlement of

underlying claims. 6 They state that BSA explored settlement with a substantial number of abuse

victims involving several meetings with attorneys of those abuse victims, including at a two-day

mediation in early November 2019, which “was attended by a prepetition future claims

representative and some of BSA’s insurers.” 7




5
    See In re Imerys, Adv. No. 19-50115-LSS, Dkt. 159, Order on Privileged Documents at 10[QUERY:
    Is this cite complete?]; John Morrell & Co. v. Local Union 304A of United Food & Commercial
    Workers, AFL-CIO, 913 F.2d 544, 556 (8th Cir. 1990) (holding that one party cannot waive common
    interest privilege of a document shared by another party, noting that “[i]t is fundamental that the joint
    defense privilege cannot be waived without the consent of all parties to the defense”) (internal
    quotation marks and citation omitted).
6
    See Declaration of Brian Whittman in Support of the BSA’s Motion for a Preliminary
    Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy Code dated February 18,
    2020 (the “Whittman Decl.”) ¶ 18 (“…BSA facilitated the retention of joint defense counsel,
    coordinated with insurance carriers..).
7
    Debtors’ Informational Brief at 5 [Dkt. 4].


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                                     Chubb presently administers
                               claims for BSA under contract pursuant
                                    to the Shared Services Order.

           BSA contends that its obligation to provide liability insurance and financial and other

claims support for the BSA Related Parties arise out of certain shared services arrangements

between the Debtors and the BSA Related Parties (the “Shared Services Arrangements”). On

April 8, 2020, the Bankruptcy Court entered an order [Dkt. 369] (the “Shared Services Order”)

authorizing BSA to continue performing its obligations under the Shared Services Arrangements

in the ordinary course of operations, subject to limitations set forth in the Shared Services

Order. 8

           ESIS, a subsidiary of Chubb, services the claims that are not stayed by the preliminary

injunction 9 and those claims for which the automatic stay is lifted as a third-party claims

administrator pursuant to the terms of certain Claims Service Contracts that require the

maintenance of confidentiality/privilege. 10 The non-stayed claims are proceeding against Non-

Debtor Insureds notwithstanding the Bankruptcy Court Preliminary Injunction, and Old Republic

and ESIS are being asked to continue to provide for the defense of, settlement, and pay out on

such claims that are covered under BSA’s insurance program. 11




8
     Declaration of Jessica C. K. Boelter in Support of the Debtors’ Application for Entry of an Order
     Authorizing the Retention and Employment of Sidley Austin LLP as Attorneys for the Debtors and
     Debtors in Possession, Nunc Pro Tunc to the Petition Date ¶ 22 [Dkt. 204-3] (“In addition, ESIS Inc.,
     a Chubb affiliate, is a third party claims administrator utilized by the BSA and certain of its
     insurers.”).
9
     See Old Republic Motion for an Order Modifying the Automatic Stay to Permit Payments of Claims
     Against Non-Debtor Insured and Related Defense Costs Under Insurance Policies, at fn. 3. [Dkt. 678]
     (explaining that the non-stayed claims include non-abuse claims against Non-Debtor Insureds, as well
     as certain abuse claims against Non-Debtor Insureds under the Bankruptcy Court Preliminary
     Injunction).
10
     Id. at ¶¶ 10–11.
11
     Id.


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                                     The Proposed Protective
                                 Order does not contain necessary
                                           protections.

        Debtors’ Proposed Protective Order lacks basic protections designed to prevent

disclosure of privileged information. Various provisions of Debtors’ Proposed Order state that

the Debtors may share any document or information with the Tort Claimants just on their

agreement to do so. For example, section 7.2(o) of Debtors’ Proposed Order permits broad

disclosure of all Discovery Materials to any party on consent of the Producing Party. Most

importantly, the Protective Order does not include a clause precluding the Debtors / Sidley from

sharing Chubb’s privileged information or privileged information generated in the underlying

defense.

                                  Century met and conferred
                         with Debtors to incorporate protections into the
                                   Proposed Protective Order

        Century sought assurance that the Debtors / Sidley would not share privileged

information generated in the defense with the Tort Claimants. The Debtors / Sidley refused to

entertain any provision that might preclude its sharing of privileged information with the Tort

Claimants. 12

                                           ARGUMENT

        I.       THE ADDITION OF THREE NARROWLY TAILORED PROTECTIONS ARE
                 WARRANTED TO ENSURE THAT CENTURY’S PRIVILEGED INFORMATION AND
                 PRIVILEGED MATERIAL ABOUT THE DEFENSE IS NOT DISCLOSED.

        Century seeks to protect the defense of underlying claims by (i) prohibiting the disclosure

of privileged information about the underlying abuse claims, (ii) striking a provision that would

have this Court override unidentified orders by other courts, and (iii) revising the inadvertent



12
     See Panchok-Berry Decl. Ex. 1 (May 27, 2020 email from M. Andolina).


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claw back provision to bring it into accord with Fed. R. Civ. P. 26(b)(5)(B). The below sections

explain the limited changes Century proposes.

         A. Privileged information concerning the defense of the underlying abuse claims
            should be protected and not shared with the tort claimants.

         Section 8.3 should be revised to preclude the Debtors’ and/or Sidley’s disclosure of

privileged information about the defense of abuse and other tort claims to claimants by the

addition of the following clause:

                 “The Debtors shall not produce documents or information subject to the
                 attorney-client privilege, the work-product doctrine, or any other
                 applicable privilege generated in connection with the defense of the
                 underlying Abuse Claims against the Debtors or privileged as to Chubb
                 without notice to all parties and an opportunity for the Debtors’ insurers to
                 be heard by the Court with notice beforehand.”

See Appendix A, §8.3.

         And the remainder of Section 8.3 should be modified to track the text adopted by the

Court in In re Imerys that makes clear that nothing contained in the Protective Order authorizes a

Producing Party to disclose any privileged information.

                 “Nothing contained in this Protective Order authorizes a Producing Party
                 to disclose to any Official Committee, the FCR or any other party or
                 entity, or their Retained Professionals, another party’s or entity’s
                 privileged information generated in connection with the defense of Abuse
                 Claims that is subject to a shared Privilege or Protection as between the
                 Producing Party and such party or entity.”

See Appendix A, §8.3.

         In reconciling a protective order in In re Imerys, this Court made clear that the Protective

Order did not absolve anyone from the obligation not to produce privileged information. 13

Century similarly seeks the Court’s assistance in protecting these documents from disclosure to



13
     Id. at 18:24–25 and 19:1–7 (“I’m not absolving, you know, anybody of by this protective order of
     their obligation not to share information that they’re under an obligation not to share.”).


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prevent harming the defense of the underlying tort claims.

         The communications among insurers and Debtors about the underlying claims and their

defense are privileged as to the Tort Claimants, as this Court held in In re Imerys. 14 As the Court

held there, because “any documents produced . . . in this litigation will come into the hands of an

adversary in the underlying tort litigation,” certain privileged documents may not be produced,

including insurer-insured communications containing legal analysis and attorney work product

regarding underlying tort litigation. 15 The ruling applied to attorney-client communications

involving underlying defense counsel and communications between insurers and Debtors that

contained privileged attorney work product that could not be disclosed to the Debtors’

adversaries in the tort system. 16 A protective order should ensure that these privileges are not

compromised by being shared with the Tort Claimants.

         These discrete changes are essential given that Sidley is in possession of privileged

information from Chubb. Nor should Sidley be heard to complain as it represented it was open

to any protective measures the Court might implement to ensure that privilege is maintained.

         B. Debtors should not share with the tort claimants documents protected by orders
            entered by other courts.

         Section 5.2 of the proposed Protective Order would have this Court override unidentified

confidentiality orders, entered by unidentified state and federal courts, involving unidentified



14
     See In re Imerys, Adv. No. 19-50115-LSS, Dkt. 159, Order on Privileged Documents at 10; John
     Morrell & Co. v. Local Union 304A of United Food & Commercial Workers, AFL-CIO, 913 F.2d
     544, 556 (8th Cir. 1990) (holding that one party cannot waive common interest privilege of a
     document shared by another party, noting that “[i]t is fundamental that the joint defense privilege
     cannot be waived without the consent of all parties to the defense”) (internal quotation marks and
     citation omitted).
15
     Id. at 13.
16
     See In re Imerys, Adv. No. 19-50115-LSS, Dkt. 159, Order on Privileged Documents at 14-15
     (concluding that the coverage/reservation of rights letters are work product and may not be disclosed
     to the Tort Claimants).


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parties and third parties without disclosure as to what documents these orders address or whether

they apply to clawed back privileged documents or documents produced by third parties not

before this Court. 17

        Pursuant to 28 U.S.C. § 1334(c)(2), this Court “shall abstain” if the criteria for mandatory

abstention are met as they are here with respect to those orders entered by state court that the

Debtors and Tort Claimant seek to override. This sort of comprehensive affirmative relief is not

properly sought without identifying the orders at issue, the parties to the orders, and the courts

that entered them. Indeed, the compulsory turn-over of documents is not even properly part of a

protective order.

        Section 5.9 should be amended as follows to require that the Debtors give notice of the

orders it seeks to override issued to prevent inadvertent disclosure of privileged information:

                “. . . the BSA and the Insurers consent to the delivery of Prepetition
                Confidential Documents to the TCC Representatives (as defined below)
                after notice and an opportunity to review any documents that are proposed
                to be provided, in which case BSA agrees that the delivery of the
                Prepetition Confidential Documents to the TCC Representatives shall not
                constitute a breach of any Existing Confidentiality Agreement.”

Id. at §5.9.

        Alternatively, Section 5.9 should be struck as it eviscerates orders of other unidentified

courts and confidentiality rights without disclosure even of the orders that are at issue and the

parties to those orders.




17
     Section 5.2 would allow all documents subject to “prepetition Confidentiality Orders to [be] shared
     among the TCC’s Counsel and Other Retained Professionals, the Members of the TCC, the UCC’s
     Counsel and Other Retained Professionals, the FCR and the FCR’s Counsel, the Local Council
     Committee’s Counsel and Other Retained Professionals, and the Insurers’ Outside Counsel and Other
     Retained Professionals.”


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         C. The clawback provision should be amended to track the protections afforded by
            Fed. R. Civ. P. 26(b)(5)(B).

         Sections 10.1 should be revised to track the corresponding text of the Protective Order in

Imerys and bring the section into accord with Fed. R. Civ. P. 26(b)(5)(B).

         Under Fed. R. Civ. P. 26(b)(5)(B), after a party is notified there has been an inadvertent

disclosure, that “party must promptly return, sequester, or destroy the specified information and

any copies it has; must not use or disclose the information until the claim is resolved.”

         The Tort Claimants modified the text of Section 10.1 to introduce a loophole that allows

them “to retain any document subject to challenge” without limit. The alternative the Rule offers

to return or destruction is to “promptly present the information to the court under seal for a

determination of the claim.”

         II.     CENTURY HAS A MATERIAL INTEREST IN THE PROTECTIONS SOUGHT FOR
                 PRIVILEGED INFORMATION.

         The tripartite privilege protects from disclosure privileged information generated by

underlying defense counsel or communicated among the insurer, its insured, and underlying

defense counsel. 18 The privilege protects attorney-client communications even where interests

of the clients may conflict in part. 19




18
     Taylor v. Temple & Cutler, 192 F.R.D. 552, 558 (E.D. Mich. 1999) (protections of the attorney-client
     privilege and the work product doctrine extended to private communications between legal
     malpractice insurer and insureds and their counsel, and to documents created in anticipation of
     malpractice litigation, including those created during an adversarial period between insurer and
     insured when insurer sought declaration of noncoverage); Weitzman v. Blazing Pedals, 151 F.R.D.
     125, 126 (D.Colo.1993) (“files generated during the [insurer’s] investigation of third party claims are
     made in anticipation of litigation and are not discoverable” to third parties); Bank of America, N.A. v.
     Superior Court, 2013 WL 151153 (4th Dist. Jan. 15, 2013).
19
     See United States v. McPartlin, 595 F.2d 1321, 1336 (7th Cir. 1979); Static Control Components, Inc.
     v. Lexmark Int'l, Inc., 250 F.R.D. 575, 578-79 (D. Colo. 2007); United States v. Pizzonia, 415 F.
     Supp. 2d 168, 178 (E.D.N.Y. 2006); Raytheon Co. v. Superior Court, 256 Cal. Rptr. 425, 428-29
     (Cal. Ct. App. 1989); Visual Scene, Inc. v. Pilkington Bros., 508 So. 2d 437, 440 (Fla. Dist. Ct. App.
     1987).


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         The tripartite privilege prevents tort claimants from gaining access to documents among

the insurer, insured, and defense counsel because disclosure could prejudice the defense against

those same tort claimants. Thus, courts around the country hold that these insurer-insured

communications are privileged in tort litigation, as they are privileged here. 20 See Schipp v. Gen.

Motors Corp., 457 F. Supp. 2d 917, 924 (E.D. Ark. 2006) (“In short, documents prepared by

Kennedy’s insurer, on the facts of this case, are protected by the work-product doctrine because

they were prepared in anticipation of litigation and because GM has failed to demonstrate a

substantial need for them.”); Strack & Van Til, Inc. v. Carter, 803 N.E.2d 666 (Ind. Ct. App.

2004) (Grocery store’s accident investigation report to its liability insurer was privileged in

customer’s slip and fall negligence action, even though the report included conclusions by a store

supervisor that were based on statements by a store employee.); Steinrock Roofing & Sheet

Metal, Inc. v. McCulloch, 965 N.E.2d 744 (Ind. Ct. App. 2012) (Claims file information from

homeowner’s insurance carrier, which determined that homeowner’s roof required replacement

as result of windstorm and made payments for work performed by contractor, was privileged in

contractor’s suit to recover unpaid balance on contract for roof replacement, as claims file would

have included statements between homeowner and insurer.).

         Communications between the Debtors and Century about the underlying claims are not

discoverable to Tort Claimants. 21 Federal Rule of Civil Procedure 26(b)(3) stipulates that a party



20
     See In re Cherokee Simeon Venture I, LLC, No. 12-12913 (KG), 2012 WL 12940975, at *3 (Bankr.
     D. Del. May 31, 2012) (communications exchanged between Debtor and Debtor’s manager about
     litigation strategies were covered by common interest privilege); Tele globe Communs. Corp. v. BCE,
     Inc. (In re Teleglobe Communs. Corp.), 493 F.3d 345, 363-65 (3d Cir. 2007) (waiving privilege
     requires the consent of all parties to the communication).
21
     For instance, even a reservation of rights letter, prepared by an insurer and sent to the insured and
     their attorney, may constitute work product. Midwest Feeders, Inc. v. Bank of Franklin, No.
     5:14CV78-DCB-MTP, 2016 WL 7422561, at *5 (S.D. Miss. June 28, 2016) citing In re Madrid, 242
     S.W.3d 563, 568-69 (Tex. App. 2007).


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may not discover documents and tangible things that are prepared in anticipation of litigation or

for trial by or for another party or its representative, including the other party’s attorney,

consultant, surety, indemnitor, insurer, or agent. It is for this precise reason that the court in

Midwest Feeders, Inc. v. Bank of Franklin denied a motion to compel, explaining that,

                 The document at issue here was prepared by the Bank’s insurer, addressed
                 and sent to the Bank’s attorney, and was prepared by the insurer due to the
                 commencement of the action. This appears to fall squarely within the
                 confines of Rule 26(b)(3). 22

         Any such communication between an insured and insurer that relates to the duty to report

incidents and the latter’s defense or indemnity falls within the attorney-client privilege. 23 In

reaching its holding, the court in Midwest Feeders, Inc. relied upon and adopted the reasoning in

In re Madrid, which determined that such things as reservation of rights letters do not only

constitute privileged work product but that they are not discoverable because they are, in any

event, wholly irrelevant. 24

         It is for reasons like these that district courts have concluded that the plain language of

then-numbered Rule 26(a)(1)(D) “merely requires the disclosure of an insurance policy or other

agreement that gives rise to an insurer’s obligation to indemnify or hold its insured harmless for

judgment, and does not require the production of all agreements relating to insurance.” 25 It is

thus clear why the Court in Native American Arts v. Bundy-Howard, for example, found that

Rule 26(a)(1)(D)’s reference to “any insurance agreement” did not embrace an insurer’s



22
     Id.
23
     See May Dep't Stores Co. v. Ryan, 699 S.W.2d 134, 136 (Mo. Ct. App. 1985).
24
     In re Madrid, 242 S.W.3d 563, 568 (Tex. App. 2007).
25
     Sierrapine v. Refiner Prod. Mfg., Inc., 275 F.R.D. 604, 612 (E.D. Cal. 2011) citing Excelsior College
     v. Frye, 233 F.R.D. 583, 585–86 (S.D.Cal.2006); accord Native Am. Arts, Inc. v. Bundy–Howard,
     Inc., No. 01 C 1618, 2003 WL 1524649, at *1–2, 2003 U.S. Dist. LEXIS 4393, at *5–6 (N.D.Ill. Mar.
     20, 2003) (unpublished) (concluding that then-numbered Rule 26(a)(1)(D) does not require disclosure
     of a ‘reservation of rights’ letter)…”


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communications about claims and held that plaintiff was entitled to nothing more than the

insurance policies themselves. 26

         This Court has held that communications in furtherance of the defense of underlying

claims may contain opinion work product. 27 The Third Circuit recognizes that documents that

contain “pure legal opinion” are “opinion work product” that “is the most sacrosanct of all forms

of work product.” 28 It encompasses an attorney’s mental impressions, conclusions, opinions, or

legal theories. A document may contain both fact work product and opinion work product, and if

such statements are intertwined it may be impossible to sort between the two. 29

         Communications protected by attorney-client privilege are also generally “absolutely

immune from discovery.” 30 The attorney-client privilege applies to communications between an

insured and its liability insurer based on the recognition that communications about an event

giving rise to liability are predominantly intended to be transmitted to the insurer’s attorney, or

one assigned by it, to defend the ultimate claim against the insured. 31 This is because the “the

insured is contractually bound to cooperate in that defense.” 32



26
     Excelsior Coll. v. Frye, 233 F.R.D. 583, 585–86 (S.D. Cal. 2006) citing Native American Arts v.
     Bundy–Howard, 2003 WL 1524649, 2003 U.S. Dist. LEXIS 4393 (N.D.Ill.2003).
27
     See In re Imerys, Adv. No. 19-50115-LSS, Dkt. 159, Order on Privileged Documents at 14-15.
28
     In re Grand Jury Investigation, 599 F.2d 1224, 1231 (3d Cir. 1979).
29
     Intel Corp., 258 F.R.D. at 294[QUERY: Could not locate the long cite for this case.]. Debtors and
     the Tort Claimants must show a “substantial need and undue hardship” before any factual work
     product may be discovered and, further, mental process work product is afforded nearly absolute
     protection. See In re Martin Marietta Corp., 856 F.2d 619, 624 (4th Cir.1988); Upjohn Co. v. United
     States, 449 U.S. 383, 400, 101 S.Ct. 677, 66 L.Ed.2d 584 (1981); Holmgren v. State Farm Mut. Auto.
     Ins., 976 F.2d 573, 577 (9th Cir.1992) (holding that work product “may be discovered and admitted
     when mental impressions are at issue in a case and the need for the material is compelling”); see also
     Director, Office of Thrift Supervision v. Vinson & Elkins, LLP, 124 F.3d 1304, 1307 (D.C.Cir.1997)
     (“virtually undiscoverable”).
30
     Id.
31
     § 250:19.View That Communications Are Privileged When They Concern Potential Suit, 17A Couch
     on Ins.
32
     Id.


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       Debtors’ communications with Century regarding the underlying claims, whether or not

the communications include underlying defense counsel, contain the mental impressions of

underlying defense counsel about the abuse claims asserted against Debtors. These

communications incorporate the opinion work product and factual work product of defense

counsel and are thus protected from disclosure to the Tort Claimants under Third Circuit

precedent. Communications with underlying defense counsel are also protected as attorney-

client communications.

                                        CONCLUSION

       WHEREFORE, Century objects to the Debtors’ / Tort Claimant Proposed Protective

Order and requests that it only be entered with the modifications indicated in the blacklined

version attached as Appendix A and that the proposed clean form of order attached as Appendix

B be entered instead.




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 Dated: May 27, 2020                        Respectfully Submitted,


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